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 1                                 UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA
 3

 4    IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
 5    PRODUCTS LIABILITY LITIGATION                     MDL No. 3047
 6

 7    This Document Relates to:
                                                      MASTER SHORT-FORM COMPLAINT AND
 8    Damion White v. Meta et al.                          DEMAND FOR JURY TRIAL
 9    Member Case No.: [INSERT Member
10    Case No. if available]
11

12           The Plaintiff(s) named below file(s) this Short-Form Complaint and Demand for Jury Trial
13   against the Defendants named below by and through the undersigned counsel. Plaintiff(s)
14   incorporate(s) by reference the allegations, claims, and relief sought in Plaintiffs’ Master Complaint
15   (Personal Injury) (“Master Complaint”) as it relates to the named Defendants (checked-off below),
16   filed in In Re: Social Media Adolescent Addiction/Personal Injury Products Liability Litigation,
17   MDL No. 3047 in the United States District Court for the Northern District of California.
18   Plaintiff(s) file(s) this Short-Form Complaint as permitted by Case Management Order No. 7.
19           As necessary herein, Plaintiff(s) may include: (a) additional Causes of Action and
20   supporting allegations against Defendants, as set forth in paragraph 11 in additional sheets attached
21   hereto; and/or (b) additional claims and allegations against other Defendants not listed in the Master
22   Complaint, as set forth in paragraph 7 (see n. 18) and may attach additional sheets hereto.
23           Plaintiff(s) indicate by checking boxes below the Parties and Causes of Actions specific to
24   Plaintiff(s)’ case.
25           Plaintiff(s), by and through their undersigned counsel, allege as follows:
26

27

28

                                                                                 MASTER SHORT-FORM COMPLAINT
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 1       9. At the time of the filing of this Short-Form Complaint, Plaintiff(s) are residents and

 2            citizens of [Indicate State]:

 3                           New York
                          _________________________________________________________

 4       B.        DEFENDANT(S)

 5       10. Plaintiff(s) name(s) the following Defendants in this action [Check all that apply]:

 6         META ENTITIES                                    TIKTOK ENTITIES

 7                   META PLATFORMS, INC.,                         BYTEDANCE, LTD

 8                formerly known as Facebook, Inc.                 BYTEDANCE, INC

 9                   INSTAGRAM, LLC                                TIKTOK, LTD.

10                   FACEBOOK PAYMENTS, INC.                       TIKTOK, LLC.

11                   SICULUS, INC.                                 TIKTOK, INC.

12                   FACEBOOK OPERATIONS, LLC

13         SNAP ENTITY                                      GOOGLE ENTITIES
14
                     SNAP INC.                                     GOOGLE LLC
15
                                                                   YOUTUBE, LLC
16
           OTHER DEFENDANTS
17

18        For each “Other Defendant” Plaintiff(s) contend(s) are additional parties and are liable
          or responsible for Plaintiff(s) damages alleged herein, Plaintiffs must identify by name
19        each Defendant and its citizenship, and Plaintiff(s) must plead the specific facts
          supporting any claim against each “Other Defendant” in a manner complying with the
20        requirements of the Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may
21        attach additional pages to this Short-Form Complaint.

22
                   NAME                                    CITIZENSHIP
23

24            1

25            2

26            3

27            4

28            5

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 1       C.     PRODUCT USE
 2      11. Plaintiff used the following Social Media Products that substantially contributed to their
 3          injury/ies (check all that apply, and identify approximate dates of use, to the best of
            Plaintiff’s recollection):
 4
                    FACEBOOK
 5
                                               2012
                     Approximate dates of use: ___________________    Present
                                                                   to ___________________
 6

 7                  INSTAGRAM

 8                                             2016
                     Approximate dates of use: ___________________    Present
                                                                   to ___________________

 9                  SNAPCHAT
10                                             2018                   Present
                     Approximate dates of use: ___________________ to ___________________
11
                    TIKTOK
12
                     Approximate dates of use: ___________________ to ___________________
13
                    YOUTUBE
14

15                   Approximate dates of use: ___________________ to ___________________

16                  OTHER:
17                    Social Media Product(s) Used              Approximate Dates of Use
18

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 1           D.     PERSONAL INJURY 1
 2           12.   Plaintiff(s) experienced the following personal injury/ies alleged to have been
 3                 caused by Defendant(s)’ Social Media Products [Check all that apply]:

 4                             ADDICTION/COMPULSIVE USE

 5                             EATING DISORDER
 6                                     Anorexia
 7                                     Bulimia

 8                                     Binge Eating
                                       Other: _______________________
 9
                               DEPRESSION
10
                               ANXIETY
11

12                             SELF-HARM

13                                     Suicidality
                                       Attempted Suicide
14
                                       Death by Suicide
15
                                                        Cutting
                                       Other Self-Harm: ________________________
16                               CHILD SEX ABUSE
17
                                 CSAM VIOLATIONS
18
                                 OTHER PHYSICAL INJURIES (SPECIFY):
19
                            ____________________________________________________________
20                          ____________________________________________________________
21

22                          ____________________________________________________________

23                          ____________________________________________________________

24

25   1
       Plaintiff(s) must check-off all injuries allegedly caused by Plaintiff’s use of Defendant(s)’ Social
26   Media Products. Plaintiff is not required to plead here emotional or psychological injuries inherent
     in injuries otherwise identified, or all manifestations of the injury alleged which will be inquired
27   into as part of the Plaintiff’s Fact Sheet (“PFS”). This Short-Form Complaint assumes that
     emotional and psychological injuries are asserted by Plaintiff in connection with any injury
28   otherwise identified.
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 1         Meta entities        6    NEGLIGENT UNDERTAKING
           Snap entity
 2
           TikTok entities
 3         Google entities
           Other Defendant(s)
 4    ##
           Meta entities        7    VIOLATION OF UNFAIR TRADE
 5
           Snap entity               PRACTICES/CONSUMER PROTECTION LAWS
 6         TikTok entities
           Google entities           Identify Applicable State Statute(s):
 7         Other Defendant(s)
 8    ##
           Meta entities        8    FRAUDULENT CONCEALMENT AND
 9         Other Defendant(s)        MISREPRESENTATION (Against Meta only)
      ##
10         Meta entities        9    NEGLIGENT CONCEALMENT AND
11         Other Defendant(s)        MISREPRESENTATION (Against Meta only)
      ##
12       Meta entities          10   NEGLIGENCE PER SE
         Snap entity
13       TikTok entities
14       Google entities
         Other Defendant(s)
15    ##___________________
         Meta entities          11   VIOLATIONS OF 18 U.S.C. §§ 1595 and 1591 (Civil
16                                   Remedy for Sex trafficking of children or by force,
         Snap entity
17       TikTok entities             fraud, or coercion)
         Google entities
18       Other Defendant(s)
      ##
19
         Meta entities          12    VIOLATIONS OF 18 U.S.C. §§ 2255 and 2252 (Civil
20       Snap entity                 remedy Certain activities relating to material involving
         TikTok entities             the sexual exploitation of minors)
21       Google entities
22       Other Defendant(s)
      ##___________________
23       Meta entities          13    VIOLATIONS OF 18 U.S.C. §§ 2252A(f), 1466A
         Snap entity                 (Civil remedy for Certain activities relating to material
24       TikTok entities             constituting or containing child pornography)
25       Google entities
         Other Defendant(s)
26    ##
27

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 1          Meta entities                     14       VIOLATIONS OF 18 U.S.C. §§ 2255 and 2252A(5)(b)
            Snap entity                               (Civil remedy for Certain activities relating to material
 2                                                    constituting or containing child pornography)
            TikTok entities
 3          Google entities
            Other Defendant(s)
 4     ##
            Meta entities                     15      VIOLATIONS OF 18 U.S.C. §§ 2258B and 2258A
 5
            Snap entity                               (Liability related to Reporting requirements of providers
 6          TikTok entities                           regarding online child sexual exploitation)
            Google entities
 7          Other Defendant(s)
 8     ##
            Meta entities                     16      WRONGFUL DEATH
 9          Snap entity
            TikTok entities
10          Google entities
11          Other Defendant(s)
       ##
12          Meta entities                     17      SURVIVAL ACTION
            Snap entity
13
            TikTok entities
14          Google entities
            Other Defendant(s)
15     ##
          Meta entities                       18      LOSS OF CONSORTIUM AND SOCIETY
16
          Snap entity
17        TikTok entities
          Google entities
18        Other Defendant(s)
       ##___________________
19

20   VI.    ADDITIONAL CAUSES OF ACTION

21                                                        NOTE

22         If Plaintiff(s) wants to allege additional Cause(s) of Action other than those selected in paragraph 10,
           which are the Causes(s) of Action set forth in the Master Complaint, the facts supporting those
23         additional Cause(s) of Action, must be pled in a manner complying with the requirements of the
           Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may attach additional pages to this Short-
24         Form Complaint.
25

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 1          14. Plaintiff(s) assert(s) the following additional Causes of Action and supporting
                allegations against the following Defendants:
 2

 3

 4

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 8

 9          WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants and all such

10   further relief that this Court deems equitable and just as set forth in the Master Complaint, and any

11   additional relief to which Plaintiff(s) may be entitled.

12                                          JURY DEMAND

13          Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

14                                                   ****

15          By signature below, Plaintiff’s counsel hereby confirms their submission to the authority

16   and jurisdiction of the United States District Court for the Northern District of California for

17   oversight of counsel’s duties under Federal Rule of Civil Procedure11, including enforcement as

18   necessary through sanctions and/or revocation of pro hac vice status.

19

20
     Dated: March 14, 2023                                       /s/ Thomas P. Cartmell
21
                                                                Thomas P. Cartmell Pro Hac Vice
22                                                              Jonathan P. Kieffer Pro Hac Vice
                                                                Lucy R. Davis
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26                                                              ldavis@wcllp.com.
                                                                Attorneys for Plaintiff
27

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